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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
DEVIN WILLIAMS,                                      :
                              Plaintiff,             :
                                                     :              Civil Action
                      v.                             :              No. 14-2667
                                                     :
OFFICER JOHN O’CONNOR, et al.,                       :
                   Defendants.                       :



                                Report of Rule 26(f) Meeting

        In accordance with Federal Rule of Civil Procedure 26(f), counsel for the parties

 conferred on August 29, 2014, and submit the following report of their meeting for the

 Court’s consideration:

                1.     Discussion of Claims, Defenses and Relevant Issues

        This case arises from Plaintiff’s allegations that City of Philadelphia Police Officer
John O’Connor and Detective Donnell Hobbs, Jr., wrongfully searched him and selectively
enforced the law against him on March 13, 2012. Plaintiff avers that the Defendants searched
him in the Point Breeze neighborhood of Philadelphia without justification. During this search,
the police allegedly found drugs and an illegal firearm.

        The Defendants agree that Plaintiff was arrested based on a search conducted by police
officers on March 13, 2012. However, the Defendants maintain that their search of Plaintiff
was justified and deny that they conducted the search based on an arbitrary decision or an
impermissible characteristic.

                2.     Informal Disclosures

         Plaintiff made his initial disclosures on August 21, 2014, and the Defendants made
their initial disclosures on August 20, 2014.

                3.     Formal Discovery

        The Defendants have served Interrogatories and Requests for Production on Plaintiff,
and the parties believe that they can complete discovery within 120 days of the Rule 16 pretrial
conference. The parties do not believe that this case will require e-discovery. In addition to
Interrogatories and Requests for Production, the parties anticipate taking approximately 4-6
depositions.
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                4.     Expert Witness Disclosures

       At this time, the parties do not currently foresee a need for expert witnesses in this case.

                5.      Early Settlement or Resolution

        Although the parties are willing to consider a settlement conference with a magistrate
judge, the parties would like to take depositions before deciding whether to participate in such
a conference.

                6.      Trial

       The parties propose that the case be tried in April 2015.

                7.      Other Matters

       None at this time.




                                                      /s/ Graham Baird
                                                      Attorney for Plaintiff

                                                      /s/ Michael R. Miller
                                                      Attorney for Defendants
